Case 4:21-cv-00587-ALM Document 11-1 Filed 12/17/21 Page 1 of 6 PageID #: 107




                              EXHIBIT
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Case 4:21-cv-00587-ALM Document 11-1 Filed 12/17/21 Page 2 of 6 PageID #: 108




                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

DR. STELLA IMMANUEL,                            §
                                                §
                Plaintiffs,                     §
                                                §
v.                                              §   CIVIL ACTION NO. 4:21-CV-00587
                                                §
ANDERSON COOPER                                 §
                                                §
-and-                                           §
                                                §
CABLE NEWS NETWORK, INC.

                Defendants.


     DECLARATION OF KATHERINE M. BOLGER IN SUPPORT OF MOTION OF
                 DEFENDANTS CABLE NEWS NETWORK’S
           MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

        I, Katherine M. Bolger, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

     1. I am a partner at the law firm of Davis Wright Tremaine LLP, attorneys for Defendant

Cable News Network (“CNN” or “Defendant”) in the above-captioned matter.

     2. I submit this declaration to annex documents relevant to CNN’s motion to dismiss

plaintiff Dr. Stella Immanuel’s (“Dr. Immanuel”) Complaint under Rule 12(b)(6) in this action.

     3. Annexed hereto as Exhibit A-1 is a true and correct copy of a video of a sermon given by

Dr. Immanuel, titled “Deliverance From Spirit Husbands and Spirit Wives (Incubus and

Succubus) Part one.” The video was posted by Dr. Immanuel to her YouTube channel, see

Compl. ¶ 9, and is available at https://www.youtube.com/watch?v=CJrJG9xymts.

     4. Annexed hereto as Exhibit A-2 is a true and correct copy of a transcript of portions of a

sermon given by Dr. Immanuel, titled “Deliverance From Spirit Husbands and Spirit Wives

(Incubus and Succubus) Part one.” A video of the sermon was posted by Dr. Immanuel to her
Case 4:21-cv-00587-ALM Document 11-1 Filed 12/17/21 Page 3 of 6 PageID #: 109




YouTube channel, see Compl. ¶ 9, and is available at

https://www.youtube.com/watch?v=CJrJG9xymts.

    5. Annexed hereto as Exhibit A-3 is a true and correct copy of a video of a sermon given by

Dr. Immanuel, titled “Supreme Court legalizes gay marriage! A Fight For the Soul of America

part two!” The video was posted by Dr. Immanuel to her YouTube channel, see Compl. ¶ 9, and

is available at https://www.youtube.com/watch?v=egzoTqwxMX8.

    6. Annexed hereto as Exhibit A-4 is a true and correct copy of a transcript of portions of a

sermon given by Dr. Immanuel, titled “Supreme Court legalizes gay marriage! A Fight For the

Soul of America part two!” A video of the sermon posted by Dr. Immanuel to her YouTube

channel, see Compl. ¶ 9, and is available at https://www.youtube.com/watch?v=egzoTqwxMX8.

    7. Annexed hereto as Exhibit A-5 is a true and correct copy of a video of a sermon given by

Dr. Immanuel, titled “A Fight For The Soul Of America Is A Fight For The World.” The video

was posted by Dr. Immanuel to her YouTube channel, see Compl. ¶ 9, and is available at

https://www.youtube.com/watch?v=Mnu_h4gz-O4.

    8. Annexed hereto as Exhibit A-6 is a true and correct copy of a transcript of portions of a

sermon given by Dr. Immanuel, titled “A Fight For The Soul Of America Is A Fight For The

World.” A video of the sermon was posted by Dr. Immanuel to her YouTube channel, see Compl.

¶ 9, and is available at https://www.youtube.com/watch?v=Mnu_h4gz-O4.

    9. Annexed hereto as Exhibit A-7 is a true and correct copy of a screenshot that I took on

December 8, 2021, of the “About” page for Dr. Immanuel’s YouTube channel, which Dr.

Immanuel references in her Complaint. See Compl. ¶ 9. The “About” page is available at

https://www.youtube.com/user/firpowerministries/about.




                                                2
Case 4:21-cv-00587-ALM Document 11-1 Filed 12/17/21 Page 4 of 6 PageID #: 110




    10. Annexed hereto as Exhibit A-8 is a true and correct copy of a CNN telecast titled

“Trump walks out of briefing after CNN question,” which aired on July 28, 2020 as part of the

news program Situation Room. Dr. Immanuel bases her claims partly on portions of this telecast.

See Compl. ¶ 5.a.

    11. Annexed hereto as Exhibit A-9 is a true and correct copy of a CNN telecast titled “Meet

the New Boss. Same as the Old Boss,” which aired on July 28, 2020 as part of the news program

Anderson Cooper 360°. Dr. Immanuel bases her claims partly on portions of this telecast. See

Compl. ¶ 5.b.

    12. Annexed hereto as Exhibit A-10 is a true and correct copy of a CNN telecast titled “A

‘Wartime President.’ More Than 100,000 Lives Lost,” which aired on July 29, 2020 as part of the

news program Anderson Cooper 360°. Dr. Immanuel bases her claims partly on portions of this

telecast. See Compl. ¶ 5.g.

    13. Annexed hereto as Exhibit A-11 is a true and correct copy of a screenshot I took on

December 8, 2021, of the landing page for the CNN telecast “Meet the New Boss. Same as the

Old Boss.” Dr. Immanuel bases her claims partly on portions of the text appearing on the right-

hand side of the landing page. See Compl. ¶ 5.d. The landing page is available at

https://www.cnn.com/videos/politics/2020/07/29/donald-trump-coronavirus-doctor-kth-sot-vpx-

ac360.cnn.

    14. Annexed hereto as Exhibit A-12 is true and correct copy of a Tweet by @AC360 posted

on July 28, 2020, promoting the CNN telecast “Meet the New Boss. Same as the Old Boss.” Dr.

Immanuel bases her claims partly on this Tweet. See Compl. ¶ 5.f. The Tweet is available at

https://twitter.com/AC360/status/1288266710697619459.




                                                3
Case 4:21-cv-00587-ALM Document 11-1 Filed 12/17/21 Page 5 of 6 PageID #: 111




    15. Annexed hereto as Exhibit A-13 is true and correct copy of a Tweet by @CNN posted on

July 28, 2020, promoting the CNN telecast “Meet the New Boss. Same as the Old Boss.” Dr.

Immanuel bases her claims partly on this Tweet. See Compl. ¶ 5.f. The Tweet is available at

https://twitter.com/CNN/status/1288276149118709760.

    16. Annexed hereto as Exhibit A-14 is a true and correct copy of an article titled Trump

promotes a doctor who has claimed alien DNA was used in medical treatments, CNN Politics

(July 29, 2020). Dr. Immanuel bases her claims partly on portions of this article. See Compl. ¶

5.c. The article is available at https://www.cnn.com/2020/07/29/politics/stella-immanuel-trump-

doctor/index.html.

    17. Annexed hereto as Exhibit A-15 is a true and correct copy of an article titled Social

media giants remove viral video with false coronavirus claims that Trump retweeted, CNN

Business (July 28, 2020). Dr. Immanuel bases her claims partly on portions of this article. See

Compl. ¶ 5.e. The article is available at https://www.cnn.com/2020/07/28/tech/facebook-youtube-

coronavirus/index.html.

    18. Annexed hereto as Exhibit A-16 is a true and correct copy of an article titled Some

doctors met with Pence after their group's video was removed for misleading info, CNN Politics

(July 29, 2020). Dr. Immanuel bases her claims partly on portions of this article. See Compl. ¶

5.h. The article is available at https://www.cnn.com/2020/07/29/politics/mike-pence-doctors-

misinformation/index.html.

    19. Annexed hereto as Exhibit A-17 is true and correct copy of a retraction request sent by

counsel for Dr. Immanuel to CNN on July 1, 2021.

    20. Annexed hereto as Exhibit A-18 is a true and correct copy of a screenshot I took on

December 13, 2021, of the YouTube landing page for a video of a sermon given by Dr.




                                                 4
Case 4:21-cv-00587-ALM Document 11-1 Filed 12/17/21 Page 6 of 6 PageID #: 112




Immanuel, titled “Deliverance From Spirit Husbands and Spirit Wives (Incubus and Succubus)

Part one.” See Compl. ¶ 9. The landing page is available at

https://www.youtube.com/watch?v=CJrJG9xymts.

    I declare under penalty of perjury that the foregoing is true and correct.


Dated: New York, New York
       December 17, 2021

                                              /s/ Katherine M. Bolger
                                              KATHERINE M. BOLGER




                                                  5
